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UNITED STATES DISTRICT COURT                                          DOC #:
SOUTHERN DISTRICT OF NEW YORK                                         DATE FILED: 11/13/2017
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 EXXON MOBIL CORPORATION,
                                                              :
                                     Plaintiff,               :
                                                              : 17-CV-2301 (VEC)
                         -against-                            :
                                                              :     ORDER
 ERIC TRADD SCHNEIDERMAN, Attorney                            :
 General of New York, in his official capacity,               :
 and MAURA TRACY HEALEY, Attorney                             :
 General of Massachusetts, in her official                    :
 capacity,                                                    :
                                     Defendants.              :
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VALERIE CAPRONI, United States District Judge:

       IT IS HEREBY ORDERED that the Court will hold oral argument in respect of the

Defendants’ motions to dismiss the Amended Complaint on certain threshold grounds at 11:00

a.m. on November 30, 2017.

SO ORDERED.
                                                 _________________________________
                                                         __________________________
Date: November 13, 2017                                      VALERIE CAPRONI
                                                                         CAPRON O I
      New York, NY                                     United States District Judge
